           Case 3:18-bk-32329                     Doc 35          Filed 05/12/20 Entered 05/12/20 15:31:28                                 Desc Main
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Debtor 2                 _______BB____________BBBBB_______________BBBBBBBBBBBBBBBBBB_BBBBBBBB_
(Spouse, if filing)

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                                                                                                 Must be at least 21 days after date
                                                                                                 of this notice                            
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                                                                                                 1HZWRWDOSD\PHQW
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                                                                                                 Principal, interest, and escrow, if any
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        YDULDEOHUDWHDFFRXQW"
        ✔
            No
            Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
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           ✔
               No
               Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)
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 Official Form 410S1                                                  1RWLFHRI0RUWJDJH3D\PHQW&KDQJH                                              page 1
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      Debtor 13:18-bk-32329                 Doc 35 Last
                                                      Filed      05/12/20 EnteredCase
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                 First Name    Middle Name             Name
                                                                                    05/12/20       15:31:28
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 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.


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    
    ✔   I am the creditor.

       I am the creditor’s authorized agent.



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 LQIRUPDWLRQDQGUHDVRQDEOHEHOLHI




 8    /s/Vanessa Harrison Chestnut
      BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
      Signature
                                                                                    05/12/2020
                                                                            'DWHBBBBBBBBBBBBBBB




 Print:BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
        Chestnut, Vanessa Harrison                                                 Vice President Loan Documentation
                                                                                  BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
        First Name           Middle Name      Last Name              7LWOH


 Company Wells Fargo Bank, N.A.
         _B____________________BB____________________________________

 Address    MAC N9286-01Y
            ___________________________B_________BB______BB______________
            Number                  Street

            1000 Blue Gentian Road
            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
            $GGUHVV

             Eagan                                   MN      55121-7700
            BBBB_______________________________________________BBBBBBBB__
              City                                       State      ZIPCode



                     800-274-7025                                                  NoticeOfPaymentChangeInquiries@wellsfargo.com
 Contact phone BBBBBBBBBBBBBBBBBBBBBBBBB                                         BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                  (PDLO




Official Form 410S1                                       1RWLFHRI0RUWJDJH3D\PHQW&KDQJH                                            page 
          Case 3:18-bk-32329         Doc 35       Filed 05/12/20 Entered 05/12/20 15:31:28                    Desc Main
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                      UNITED STATES BANKRUPTCY COURT           Page 3 of 7

                                                        Southern District of Ohio


                                                   Chapter 13 No. 1832329
                                                   Judge: Guy R Humphrey

In re:
Robert S Mendenhall
                                          Debtor s 

                                          CERTIFICATE OF SERVICE
I hereby certify that this Notice, including all attachments, is being served on or before May 13, 2020 via filing with the US
Bankruptcy Court's CM ECF system or by mailing or providing a copy of this document to a vendor for mailing: By U.S. Postal
Service First Class Main Postage Prepaid or FedEx.


Debtor:                            %\863RVWDO6HUYLFH)LUVW&ODVV0DLO3RVWDJH3UHSDLGRU)HG([
                                    Robert S Mendenhall
                                    4679 Byron Rd

                                    Fairborn OH 45324



                                   %\863RVWDO6HUYLFH)LUVW&ODVV0DLO3RVWDJH3UHSDLGRU)HG([
                                    N/A




Debtor’s Attorney:                 %\&RXUW V&0(&)V\VWHPUHJLVWHUHGHPDLODGGUHVV
                                    Jacob M Jeffries

                                    133 S Main Street

                                    New Carlisle OH 45344


                                   %\&RXUW V&0(&)V\VWHPUHJLVWHUHGHPDLODGGUHVV
                                   N/A




Trustee:                           %\&RXUW V&0(&)V\VWHPUHJLVWHUHGHPDLODGGUHVV
                                    John G. Jansing
                                    Chapter 13 Trustee
                                    131 North Ludlow St Suite 900

                                    Dayton OH 45402

                                                          @@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@
                                                          /s/Vanessa Harrison Chestnut
                                                           Vice President Loan Documentation
                                                           Wells Fargo Bank, N.A.
         Case 3:18-bk-32329               Doc 35                             Customer
                                                        Filed 05/12/20 Entered  05/12/20Service
                                                                                           15:31:28                               Desc Main
                                                        Document     Page 4 of 7 Online                                           Telephone
                                                                                                 wellsfargo.com                   1-800-340-0473
          ROBERT S MENDENHALL
                                                                                                 Correspondence                   Hours of operation
          4679 BYRON RD                                                                          PO Box 10335                     Mon - Fri 7 a.m. - 7 p.m. CT
          FAIRBORN OH 45324-9731                                                                 Des Moines, IA 50306
                                                                                                 To learn more, go to:
                                                                                                 wellsfargo.com/escrow


                                                                                                    We accept telecommunications relay service calls



PLEASE NOTE: If you are presently seeking relief (or have previously been granted
relief) under the United States Bankruptcy Code, this statement is being sent to you
for informational purposes only. The summaries below are based on the terms of the
loan and are provided for informational purposes only.
These amounts are governed by the terms of the loan unless otherwise reduced by an
order of the bankruptcy court. Because the amounts billed for the escrow items can
change over time, we review the escrow account at least once per year to ensure there
will be enough money to make these payments. Once the review is complete, we send
the escrow review statement, also known as the escrow account disclosure statement.
                                                                                             The escrow account has a shortage of
Here's what we found:
     • Required Minimum Balance: The escrow account balance is projected to                                $55.11
        fall below the required minimum balance. This means there is a shortage.

     •   Payments: As of the July 1, 2020 payment, the contractual portion of the
         escrow payment decreases.



  Part 1 - Mortgage payment

         Option 1                Pay the shortage amount over 12 months
                                  Previous payment through New payment beginning with
                                  06/01/2020 payment date   the 07/01/2020 payment
                                                                                                Option 1: No action required
 Principal and/or interest                  $672.44                   $672.44

 Escrow payment                             $333.32                   $323.70               Starting July 1, 2020 the new contractual
 Total payment amount
                                                                                            payment amount will be $996.14
                                         $1,005.76                   $996.14

         Option 2                Pay the shortage amount of $55.11
                                  Previous payment through New payment beginning with
                                  06/01/2020 payment date   the 07/01/2020 payment
                                                                                                Option 2: Pay shortage in full
 Principal and/or interest                  $672.44                   $672.44

 Escrow payment                             $333.32                    $319.11              Starting July 1, 2020 the new contractual
 Total payment amount                                                                       payment amount will be $991.55
                                         $1,005.76                   $991.55




                                                      See Page 2 for additional details.


                                        Note: If you are presently seeking relief (or have previously been granted relief) under the United
                                        States Bankruptcy Code, this coupon is being provided for informational purposes only. If your
                                        Chapter 13 plan calls for your Chapter 13 Trustee to make the on-going post-petition mortgage
                                        payments, please contact your attorney or the Trustee’s office before directly sending any
                                        amounts relating to this escrow shortage

                                                                  If you choose to pay the shortage in full as referenced in Option 2, detach this coupon
                                                                  and mail it along with a check for $55.11 to the address that appears on this coupon.
  ROBERT S MENDENHALL
                                                                  This payment must be received no later than July 1, 2020.


              Wells Fargo Home Mortgage
              PO Box 14538
To determine the escrow payment, we add the projected escrow items to be paid over the next 12 months. We base these projected amounts on any
       Case 3:18-bk-32329 Doc 35 Filed 05/12/20 Entered 05/12/20 15:31:28 Desc Main
escrow items that may have been paid in the past and any future anticipated payments to be made. We then divide the amounts by 12 payments to
determine the escrow amount.                          Document              Page 5 of 7
The chart below includes any actual escrow disbursements as well as any shortage that may have been identified for the past three analysis periods up
through the date of the analysis.



Escrow comparison

                                                                                                                                           New monthly
                                     07/18 - 06/19      08/18 - 07/19        07/19 - 05/20    07/20 - 06/21
                                                                                                                        # of                 escrow
                                       (Actual)           (Actual)             (Actual)        (Projected)
                                                                                                                       months                amount

Property taxes                             $2,656.76         $2,656.76            $1,315.31     $2,630.62       ÷         12        =          $219.22
Property insurance                          $1,125.27         $1,125.27          $1,198.65       $1,198.65      ÷         12        =          $99.89
Total taxes and insurance                  $3,782.03         $3,782.03           $2,513.96      $3,829.27       ÷         12        =         $319.11
Escrow shortage                              $159.58             $0.00             $217.84         $55.11       ÷         12        =            $4.59**

Total escrow                               $3,941.61         $3,782.03           $2,731.80      $3,884.38       ÷         12        =         $323.70


**
    This amount is added to the payment if Option 1 on page 1 is selected.


Projected escrow account activity over the next 12 months
To determine if there will be a shortage or overage in the account, we calculate whether the amount of the lowest projected escrow balance will be
greater or less than the required minimum balance. This is determined by subtracting the required minimum balance from the lowest projected
balance. If the outcome is positive, there is an overage. If it is negative, there is a shortage. The calculation is below:


                                                                                                     (Calculated in Part 3 - Escrow account projections
Lowest projected escrow balance June, 2021                                          $423.55          table)

Bankruptcy adjustment‡                                                 +            $159.56

Minimum balance for the escrow account†                                 -          $638.22           (Calculated as: $319.11 X 2 months)


Escrow shortage                                                        =            -$55.11


‡
 This adjustment of $159.56, is the remaining amount of the pre-petition escrow shortage included in our proof of claim being paid through the
confirmed bankruptcy plan.
†
 The minimum balance includes a cash reserve to help cover any increase in taxes and/or insurance. To calculate the cash reserve for the escrow
account, we add the yearly escrow payments, and divide by 12. We take this amount and multiply it by 2 as allowed by state laws and/or the mortgage
contract to determine the cash reserve.
              Payments to                 expect to                                                                  Projected escrow        Balance required
Date            escrow                     pay out         Description                                                   balance              in the account
Jun 2020
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                                                           Starting balance                       $423.50
                                                                                                          Desc Main
                                                                                                                 $638.17
Jul 2020              $319.11                   $0.00
                                                          Document          Page 6 of 7           $742.61        $957.28
Aug 2020              $319.11                   $0.00                                                                      $1,061.72                   $1,276.39
Sep 2020              $319.11                   $0.00                                                                     $1,380.83                    $1,595.50
Oct 2020              $319.11                   $0.00                                                                      $1,699.94                   $1,914.61
Nov 2020              $319.11                   $0.00                                                                     $2,019.05                    $2,233.72
Dec 2020              $319.11                   $0.00                                                                     $2,338.16                    $2,552.83
Jan 2021              $319.11                   $0.00                                                                      $2,657.27                   $2,871.94
Feb 2021              $319.11                $1,315.31     GREENE COUNTY(W)(5)                                             $1,661.07                   $1,875.74
Feb 2021               $0.00                 $1,198.65     ALLSTATE EDI ONLY                                                $462.42                     $677.09
Mar 2021              $319.11                   $0.00                                                                       $781.53                     $996.20
Apr 2021              $319.11                   $0.00                                                                      $1,100.64                   $1,315.31
May 2021              $319.11                   $0.00                                                                      $1,419.75                   $1,634.42
Jun 2021              $319.11                 $1,315.31     GREENE COUNTY(W)(5)                                            $423.55                     $638.22

Totals           $3,829.32                   $3,829.27



 Part 4 - Escrow account history
Escrow account activity from July, 2019 to June, 2020
                      Deposits to escrow                      Payments from escrow                                                     Escrow balance
   Date      Actual      Projected Difference             Actual   Projected Difference              Description           Actual         Projected Difference
Jul 2019                                                                                          Starting Balance        -$1,844.34        $630.33       -$2,474.67
Jul 2019       $299.61          $315.17       -$15.56        $0.00          $0.00       $0.00                              -$1,544.73       $945.50       -$2,490.23

Aug 2019        $0.00           $315.17      -$315.17        $0.00          $0.00       $0.00                              -$1,544.73      $1,260.67     -$2,805.40

Sep 2019       $299.61          $315.17       -$15.56        $0.00          $0.00       $0.00                              -$1,245.12      $1,575.84     -$2,820.96

Oct 2019       $299.61          $315.17       -$15.56        $0.00          $0.00       $0.00                               -$945.51       $1,891.01      -$2,836.52

Nov 2019        $0.00           $315.17      -$315.17        $0.00          $0.00       $0.00                               -$945.51      $2,206.18       -$3,151.69

Dec 2019       $299.61          $315.17       -$15.56        $0.00          $0.00       $0.00                               -$645.90       $2,521.35      -$3,167.25

Jan 2020        $0.00           $315.17      -$315.17     $1,198.65         $0.00    $1,198.65    ALLSTATE EDI ONLY        -$1,844.55     $2,836.52       -$4,681.07

Feb 2020      $599.22           $315.17      $284.05      $1,315.31   $1,328.38        -$13.07    GREENE COUNTY(W)(5)     -$2,560.64       $1,823.31      -$4,383.95

Feb 2020        $0.00            $0.00         $0.00         $0.00       $1,125.27   -$1,125.27   ALLSTATE EDI ONLY       -$2,560.64        $698.04       -$3,258.68

Mar 2020      $632.93           $315.17      $317.76         $0.00          $0.00       $0.00                              -$1,927.71      $1,013.21      -$2,940.92

Apr 2020      $333.32           $315.17        $18.15        $0.00          $0.00       $0.00                              -$1,594.39      $1,328.38      -$2,922.77

May 2020     $2,999.88          $315.17     $2,684.71        $0.00          $0.00       $0.00                              $1,405.49       $1,643.55       -$238.06
(estimate)

Jun 2020      $333.32           $315.17        $18.15     $1,315.31   $1,328.38        -$13.07    GREENE                     $423.50        $630.34        -$206.84
(estimate)                                                                                        COUNTY(W)(5)

Totals       $6,097.11      $3,782.04       $2,315.07     $3,829.27   $3,782.03         $47.24
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